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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

RATANIA ODUMS,

Plaintiff,

v. CASE NO.: 8:17-ev-01677-RAL-TBM

UNITED RECOVERY SOLUTIONS, INC.,

Defendant.

AFFIDAVIT OF RATANIA ODUMS IN SUPPORT OF
PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT JUDGMENT

Before me, the undersigned notary public in and for the State of Florida. appeared

Ratania Odums, and after being duly sworn, deposes and states:

I. My name is Ratania Odums. I am over the age of 18, and ] am a resident of the

State of Florida. The statements made herein are true and are based on personal knowledge.

2. I am the Plaintiff in this action. In that role, I have personal knowledge of the

facts set forth in the Complaint (Doc. 1) in this action, and the facts as stated in this Affidavit.

“

3. At all times material hereto, I was the subscriber to the cellular telephone number

at issue, (407) 535-3977.

4. At all times material hereto, the cellular service provider for the aforementioned

cellular telephone number was Metro PCS.

5. 1 am the Plaintiff in the above-entitled action and I am familiar with the facts of the

Case.
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6. Beginning on or about April 3, 2017, I began receiving automated calls to my cell
from the Defendant seeking to recover a debt from the rental of a musical instrument.

7. In April of 2017, I spoke to the an agent/representative and informed that agent that |
had returned the musical instrument as soon as the school opened in January of 2017, and asked
Defendant to stop calling my aforementioned cellular telephone number.

8. Again in April of 2017, I spoke to an agent/representative of Defendant, informing
them that, as I had previously stated, I had returned the musical instrument and did not have the
money to pay the alleged debt incurred during the time the school was closed for the holiday, and
reiterated my desire for the Defendant to stop calling my aforementioned cellular telephone number.

9. From April of 2017 to present, | answered numerous calls from Defendant and
continued to inform the Defendant that I had returned the musical instrument.

10. From April of 2017 to May 23, 2017, according to my cellular telephone’s call
history, I received thirty-four (34) calls to my aforementioned cellular telephone number from the
Defendant despite my repeated requests to cease calling my phone. (See Attached Exhibit)

11. The Defendant has refused to honor my requests for the automated calls to stop and
continues to bombard my cell phone with calls.

12. In total, from April 2017 through June 2017, I estimate I have received
approximately ninety (90) calls from Defendant to my cell phone, eighty-nine (89) of which
occurred after [ asked Defendant to cease calling.

FURTHER AFFIANT SAYETH NOT.

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RATANIA ODUMS
STATE OF FLORIDA )
)
COUNTY OF 2 YW )
The foregoing instrument was acknowledged before me on this the lo day of

. 2017 by Ratania Odums, who is personally known io me or who
produced Pip. OS3SSNa%0 71870 as identification and who did take an oath.

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NOTARY PUBLIC

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EXHIBIT TO
ODUMS AFFIDAVIT

Screenshots
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